
YATES, Judge.
The facts presented are essentially the same as those presented in Browning v. Browning, 626 So.2d 649 (Ala.Civ.App.1993). The judgment in this case is reversed and the cause is remanded on the authority of Browning and Dimoff v. Dimoff, 606 So.2d 169 (Ala.Civ.App.1992), for entry of an order denying the appellee’s petition to modify. The appellant’s request for an attorney fee on appeal is granted in the amount of $1500. The appellee’s request for an attorney fee on appeal is denied.
REVERSED AND REMANDED WITH INSTRUCTIONS.
ROBERTSON, P.J., and THIGPEN, J., concur.
